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SACRAMENTO DIVISION
16|| RALPH COLEMAN, et al., CASE NO. CIV S-90-0520 LKK
17 Plaintiffs, DEFENDANTS’ REQUEST FOR
EXTENSION OF TIME TO
18 v. COMPLETE THEIR STUDY OF
UNMET INPATIENT BED NEEDS;
19} ARNOLD SCHWARZENEGGER, et al., [BROPSSED] ORDER
20 Defendants.
21
22 On January 12, 2004, this Court issued an order requiring Defendants to "complete

23 || their study of unmet inpatient bed needs by March 31, 2004." (January 12, 2004 Order at 2:17-
24 || 18.) Defendants request an extension of time, to and including May 31, 2004, to complete the

25 || study. The basis for this request is set forth below in the declaration of counsel.

ia 26 I, Jennifer A. Neill, declare as follows:

st 27 1. Iam an attorney licensed to practice before all the courts of the State of California.
2 <
oy 28 || Ihave been admitted to practice before the Eastern and Northern Districts of the United States

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District Court in the State of California. I am the attorney of record for the Defendants.

2. I have personal knowledge of the facts stated herein and if called to testify upon
those facts would do so competently.

3. On January 12, 2004, this Court issued an order requiring Defendants to "complete
their study of unmet inpatient bed needs by March 31, 2004." (January 12, 2004 Order at 2:17-
18.)

4. Defendants have diligently worked on the study, including developing a study tool,
using the tool to gather data from institutions, analyzing the data and reporting the results to the
court-appointed Special Master and experts, and Plaintiffs’ counsel. Throughout the process
there has been input from and discussions with the Special Master, the experts, and Plaintiffs’
counsel. Nevertheless, to date the parties have been unable to agree that the efforts undertaken
by Defendants sufficiently complete the study.

5. On March 30, 2004, Defendants, the Special Master, the experts, and Plaintiffs’
counsel participated in a telephone conference to discuss the study. At the conclusion of the
conversation, the Special Master indicated that he would discuss the matter with the court-
appointed experts and provide Defendants guidance as to whether the information submitted is
sufficient to consider the study complete, whether Defendants will need to redo the study, or
whether the Special Master will make an alternate recommendation.

6. On March 31, 2004, I spoke with the Special Master who indicated that it would be
reasonable for Defendants to ask for an extension of time to May 31, 2004, to complete the
study.

7. On April 1, 2004, I spoke with Plaintiffs’ counsel at Rosen, Bien and Asaro, who
stated that they have no opposition to the request for an extension of time.

I declare under penalty of perjury that the foregoing is true and correct.

Executed this Ist day of April, 2004 at Sacramento, California.

TAL bo EULEU
Jenyifer A. Ndill
Supervising Députy Attorney General

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[PROPOSED] ORDER
Defendants have requested an extension of time in which to complete their study of
unmet inpatient bed needs. Good cause having been shown, and with the agreement of the court-

appointed Special Master and Plaintiffs’ counsel the request is granted.

IT IS SO ORDERED:

Dated: f : ef oS +

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DECLARATION OF SERVICE BY U.S. MAIL

Case Name: RALPH COLEMAN, et al. v. ARNOLD SCHWARZENEGGER, et al.
No.: CIV S-90-0520 LKK JFM P
I declare:

I am employed in the Office of the Attorney General, which is the office of a member of the
California State Bar at which member's direction this service is made. I am 18 years of age and
older and not a party to this matter. I am familiar with the business practice at the Office of the
Attorney General for collection and processing of correspondence for mailing with the United
States Postal Service. In accordance with that practice, correspondence placed in the internal
mail collection system at the Office of the Attorney General is deposited with the United States
Postal Service that same day in the ordinary course of business.

On April 1, 2004, I served the attached DEFENDANTS’ REQUEST FOR EXTENSION OF
TIME TO COMPLETE THEIR STUDY OF UNMET INPATIENT BED NEEDS;
[PROPOSED] ORDER by placing a true copy thereof enclosed in a sealed envelope with
postage thereon fully prepaid, in the internal mail collection system at the Office of the Attorney
General at 1300 I Street, P.O. Box 944255, Sacramento, California 94244-2550, addressed as
follows:

Michael W. Bien, Esq. Matthew A. Lopes, Jr.

Rosen, Bien & Asaro Brown Rudnick Berlack Israels LLP

155 Montgomery Street, 8" Floor 121 South Main Street

San Francisco, CA 94104 Providence, RI 02903

Attorney for Plaintiffs
Donald Specter

J. Michael Keating, Jr. Prison Law Office

285 Terrace Avenue GENERAL DELIVERY

Riverside, RI 02915 SAN QUENTIN, CA 94964-0001
Attorney for Plaintiffs

I declare under penalty of perjury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on April 1, 2004, at Sacramento, California.

R. Wells 32 Lh?

Declarant Signature

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United States District Court
for the
Eastern District of California
April 5, 2004

* * CERTIFICATE OF SERVICE * *

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I, the undersigned, hereby certify that I am an employee in the Office of
the Clerk, U.S. District Court, Eastern District of California.

That on April 5, 2004, I SERVED a true and correct copy(ies) of

the attached, by placing said copy(ies) in a postage paid envelope
addressed to the person(s) hereinafter listed, by depositing said
envelope in the U.S. Mail, by placing said copy(ies) into an inter-office
delivery receptacle located in the Clerk’s office, or, pursuant to prior
authorization by counsel, via facsimile.

Donald Specter AR/LKK
Prison Law Office

General Delivery

San Quentin, CA 94964

Michael W Bien

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Matthew A Lopes Jr
121 South Main St
Providence, RI 02903

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Jack L. Wagner,

Clerk

